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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.,

                   Plaintiffs,

    vs.                                            Civil Action No. 18-1551 (ESH)

  DEPARTMENT OF THE ARMY, et al.,

                   Defendants.


                                 DEFENDANTS’ STATUS REPORT

       In accordance with the Court’s Order entered on August 13, 2018 (ECF No. 23),

Defendants respectfully submit this bi-weekly status report. There is no change to the status

report submitted by Defendants on April 1, 2019 (ECF No. 84). As of the date of this report, the

Army has not initiated any administrative separations pursuant to the October 26, 2018 policy

memorandum (ECF No. 50-1).

Dated: May 10, 2019                          Respectfully submitted,

                                             JESSIE K. LIU, D.C. Bar # 472845
                                             United States Attorney

                                             DANIEL F. VAN HORN, D.C. Bar # 924092
                                             Chief, Civil Division

                                        BY: /s/ Roberto C. Martens, Jr.
                                            ROBERTO C. MARTENS, JR.
                                            Special Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I certify that on this 10th day of May 2019, I served the foregoing Defendants’ Status

Report upon counsel for Plaintiffs by filing said document using the Court’s Electronic Case

Filing System.

Dated: May 10, 2019                          /s/ Roberto C. Martens, Jr.
                                             ROBERTO C. MARTENS, JR.
                                             Special Assistant United States Attorney




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